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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         *
                                                  *
         v.                                       *     CRIMINAL NO. 23-cr-257 (TSC)
                                                  *
 DONALD J. TRUMP,                                 *
                                                  *
                Defendant.                        *
                                                  *

     GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO VACATE

       The Government sought the defendant’s position on the substantive motion that it sought

leave to file today, and represented that position to the Court in its motion. See ECF No. 47-1. In

addition, the Government sought leave of the Court to file an unredacted copy of the motion under

seal, and a redacted copy on the public docket, because the motion refers to Sensitive

Materials. See ECF No. 47. As described below and in the Government’s motion for leave to file

under seal, ECF No. 47, these actions were entirely consistent with the Protective Order that the

Court issued in this case. The Defendant’s Motion to Vacate, on the other hand, contemplates a

process that is inconsistent both with the Protective Order and the efficient administration of

justice, and the Court should deny it.

       The Government filed its motion consistent with the terms of the Protective Order, which

provides that “[i]f a party includes unredacted Sensitive Materials in any filing with the court, they

should be submitted under seal.” ECF No. 28 at ¶ 11. It further requires that “[a]ny filing under

seal must be accompanied by a motion for leave to file under seal . . . as well as a redacted copy

of any included Sensitive Materials for the Clerk of the Court to file on the public docket if the

court were to grant the motion for leave to file under seal.” Id. at ¶ 12.

       In his Motion to Vacate, the defendant instead suggests an unworkable three-week briefing

process for the Court to decide whether every ordinary filing that refers to Sensitive Materials may
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be docketed. See ECF No. 48 at 1. Such a requirement would grind litigation in this case to a halt,

which is particularly infeasible given the pressing matters before the Court—including the

defendant’s daily extrajudicial statements that threaten to prejudice the jury pool in this case, as

described in the Government’s motion. See ECF No. 47-3. The Court should deny the defendant’s

motion.




                                                     Respectfully submitted,

                                                     JACK SMITH
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